                           UNITED STATES DISTRICT COURT
                     IN AND FOR THE NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION



                                              )
Fraserside IP, LLC,                           )
               Plaintiff,                     )
v.                                   )
                                     )
Sergej Letyagin, dba SunPomo.com,    )                Docket No. 11-cv-03041-MWB
       www.sunpomo.com,              )
       John Does 1 - 100,            )
       and John Doe Companies 1-100, )
              Defendants.            )
_____________)

                            AFFIDAVIT OF SERGEJ LETYAGIN

       Sergej Letyagin, being duly sworn, does hereby depose and state:

        1.     My name is Sergej Letyagin. Unless otherwise stated, I make this affidavit of my

own personal knowledge.

       2.      I am a full-time resident of Europe. I have never resided in, nor visited, Iowa.

Indeed, I have never resided in or visited the United States.

       3.      Ideal Consult, Ltd. ("Ideal") is a company headquartered in the Republic of

Seychelles. I am the Director of Technology for Ideal.

       4.      I do not now (nor have I ever) personally owned or operated the website

www.sunpomo.com ("SunPomo").

       5.      Ideal owns and operates the SunPorno website. I do not know why the Plaintiff

has named me as a defendant who is "doing business as" Sunporno.com, since I do not

personally do business under that name. As I have stated, the Sunpomo.com site is owned and

operated by Ideal.




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       6.      Ideal does not maintain (nor has it ever maintained) any servers within Iowa. It

has no employees in (and has never had any employees in) Iowa, owns no real estate in (and has

never owned any real estate in) Iowa, pays no taxes in (and has never paid taxes in) Iowa, and

has no bank accounts in (and has never had any bank accounts in) Iowa. Neither Ideal nor

Sunporno are registered to do business in Iowa (nor have they ever been so registered).

       7.      Although I assume it goes without saying, I personally have no ties to Iowa- I do

not maintain any servers there, do not advertise there, do not own real estate there, do not pay

taxes there, and have no bank accounts there.

       8.      I understand that Fraserside' s Complaint speaks about "premium memberships."

Fraserside either misunderstands the way these work or is not being forthcoming with the Court.

Ideal does not itself offer any premium memberships. Ideal has, on occasion, been approached

by other companies who provide adult video memberships (none of whom were located in Iowa)

to enter into affiliate agreements with them. When Ideal has experimented with these affiliate

arrangements, the affiliate company created what is known as a "white label site," which means

they put SunPorno's logo on a site which they create, own, and run . (Currently, the

Sunporno.com website isn 't offering such an option since there seemed to be little interest in it.)

Once the person clicked on the "premium membership" button, they were sent to a website

which Ideal did not control and could not control. Again, this type of relationship is very

common in the adult entertainment website industry and I have to assume that Fraserside is well

aware that Ideal was not in control of the premium site.

       9.      The same is true with respect to the advertisements on SunPorno.com. Ideal has

no control over what ads are displayed. Ideal contracts with an advertising network company

called ExoClick, which is headquartered in Spain. All Ideal does is provide banner advertising



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space on its website to ExoClick. ExoClick then selects the advertisements that display when

someone goes to the website. This is the way that most advertising on the internet works.



       Signed under the pains and penalties of perjury t~is 7th day of February, 2012.



                                                    k~'Ufvr
                                                    Sergej Letyagin
                                                    Director of Technology
                                                    Ideal Consult, Ltd.




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